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                                                                December 18, 2019

VIA ELECTRONIC CASE FILING

Honorable Magistrate Judge Sarah Netburn
United States District Court for the
Southern District of New York
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, NY 10007

          Re:        In Re: September 11, 2001 Terror Attacks, 03-mdl-1570 (GBD)(SN)
                     Ashton et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 (GBD)(SN)
                     Bauer et al. v. al Qaeda Islamic Army, et al., 02-cv-7236 (GBD)(SN)
                     Ashton et al. v. Kingdom of Saudi Arabia, 17-cv-2003 (GBD)(SN)

Dear Judge Netburn:

        As we advised the Court on December 10, 2019, the parties have met and conferred and hereby
report that the disputed charging lien issue has been resolved. Accordingly, attached please find the
signed stipulation consented to by all parties.

        We respectfully request that Your Honor so-order the stipulation. Again, we thank Your Honor
for the Court’s time and effort in bringing an end to this issue.


                                                                Respectfully submitted,

                                                                Michel F. Baumeister
                                                                Michel F. Baumeister

MFB:cml
cc:  Jonathan Vuotto (via electronic mail)
     Dennis Pantazis (via electronic mail)
